            Case 2:06-cr-00323-MCE Document 55 Filed 05/02/08 Page 1 of 3


1    MCGREGOR W. SCOTT
     United States Attorney
2    SAMUEL WONG
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2772
5
6
7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         ) No. 2:06-cr-00323-MCE
12              Plaintiff,               )
                                         ) STIPULATION AND ORDER
13         v.                            ) CONTINUING STATUS CONFERENCE
                                         ) AND EXCLUDING SPEEDY TRIAL TIME
14   JESUS DIAZ OLIVERA, et al.,         ) Date: May 1, 2008
                                         ) Time: 9:00 a.m.
15                                       ) Court: Hon. Morrison England
                Defendants.              )
16                                       )
                                         )
17
18         Whereas, the Court previously set May 1, 2008, at 9:00 a.m.,
19   as a status conference hearing date in this case;
20         Whereas, defendants Jesus Diaz Olivera, Jose Maria Gomez
21   Ortega, and Javier Villalobos Garcia have each submitted to a
22   debriefing by the United States on April 24, 2008, to determine
23   whether he will receive assurances from the United States that it
24   will make a U.S.S.G. § 5K1.1 motion for a downward departure as
25   part of a settlement resolution of the prosecution against him;
26   ///
27   ///
28   ///

                                         1
              Case 2:06-cr-00323-MCE Document 55 Filed 05/02/08 Page 2 of 3


1          Whereas, each party desires additional time to allow the
2    United States an opportunity to research and confirm the accuracy
3    of the information provided by each defendant before the United
4    States determines the value of the information provided in each
5    defendant's debriefing; and
6          Whereas, defense counsel for each defendant desires
7    additional time to review any proposed plea agreement with his
8    client with the assistance of a Spanish/English interpreter and
9    explain the provisions of the plea agreement to his client,
10         It is hereby stipulated by and between the United States and
11   defendants, through their respective counsel, that:
12         1.     The May 1, 2008, status hearing shall be continued to
13   June 5, 2008, at 9:00 a.m.;
14         2.     Time from the date of this stipulation to and including
15   June 5, 2008, shall be excluded from computation of time within
16   which the trial of this case must be commenced under the Speedy
17   Trial Act pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) (Local Code
18   T4) (preparation by government and defense counsel).
19   Dated:     April 29, 2008           McGREGOR W. SCOTT
                                         United States Attorney
20
                                         /s/ Samuel Wong
21                                 By:
                                         SAMUEL WONG
22                                       Assistant United States Attorney
23
                                         /s/ Steve Bauer
24   Dated:     April 29, 2008
                                         STEVE BAUER
25                                       Attorney for defendant
                                         Jesus Diaz Olivera
26                                       (per telephone authorization)
27   ///
28   ///

                                           2
              Case 2:06-cr-00323-MCE Document 55 Filed 05/02/08 Page 3 of 3


1
                                         /s/ Gilbert Roque
2    Dated:    April 29, 2008
                                         GILBERT ROQUE
3                                        Attorney for defendant
                                         Jose Maria Gomez Ortega
4                                        (per personal authorization)
5
                                         /s/ Michael Bigelow
6    Dated:    April 29, 2008
                                         MICHAEL BIGELOW
7                                        Attorney for defendant
                                         Javier Villalobos Garcia
8                                        (per telephone authorization)
9
10                                       ORDER
11
12        Based on the stipulation of the parties and good cause
13   appearing therefrom, the Court hereby finds that the failure to
14   grant a continuance in this case would deny both government and
15   defense counsel reasonable time necessary for effective
16   preparation, taking into account the exercise of due diligence.
17   The Court specifically finds that the ends of justice served by
18   the granting of such continuance outweigh the interests of the
19   public and the defendants in a speedy trial.
20        Based on these findings and pursuant to the stipulation of
21   the parties, the Court hereby adopts the stipulation of the
22   parties in its entirety as its order.
23        IT IS SO ORDERED.
24
     Dated: May 1, 2008
25
26                                       _____________________________
27                                       MORRISON C. ENGLAND, JR.
                                         UNITED STATES DISTRICT JUDGE
28

                                           3
